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                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                             Miami Division

                                      CASE NO: 1:18-cv-20771-FAM

  CORINNE PICCINETTI,

                  Plaintiff,

  vs.

  MSC CRUISES, S.A.,

                  Defendant.
                                                   /

    PLAINTIFF’S REPLY TO DEFENDANT’S AMENDED RESPONSE IN OPPOSITION
        TO PLAINTIFF’S MOTION TO COMPEL RESPONSES TO DISCOVERY

         Plaintiff, Corinne Piccinetti, hereby Replies to Defendant’s Amended Response in

  Opposition to Plaintiff’s Motion to Compel Responses to Discovery (hereinafter “Response in

  Opposition”):

                    MSC’S INACCURATE “BACKGROUND” RECITATION

         In an ironic twist, MSC contends that Plaintiff is attempting to create ambiguity about the

  wet and slippery floor that caused her to fall. MSC does so in an ongoing attempt to evade its

  discovery obligations. A full and fair reading of Plaintiff’s deposition testimony leaves no doubt

  as to what happened: “Q. How do you know you slipped on water?

                          A. I was laying in it.

                          Q. Did you see the water before you ended up laying in it?

                          A. No I did not see the water. I felt it.

                          Q. After you slipped?

                          A. Correct.”

  (See Deposition of Plaintiff, Pg. 101, attached hereto as Exhibit A).
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           Plaintiff describes the surface as being “slick.” Id. She also describes it as “slimy”.” Id. at

  Pg. 144, Ln. 17. She is specifically asked about the “presence of the greasy oily substance” and

  testifies that it “[c]ould have been anything.” Id. Pg. 144, Ln 20. MSC would have the Court

  believe that the Plaintiff unequivocally testified that there was visible grease or oil on the floor of

  the area. She did not. She described a dangerously slick, slimy, and slippery floor that hurt her

  badly.

           This is not the first time this floor has been likened to grease in testimony. A past Plaintiff

  injured in the same location, Sylvia Bauershmidt, also chose the word “grease” to describe the

  defectively dangerous slick feel of the subject flooring: “I was fine and then all of a sudden it was

  like grease lightning. I [sic] feet slipped out from under me and I landed on my back.” (Deposition

  of Sylvia Bauershmidt, Pg. 129, Lns. 17-19, attached hereto as Exhibit B) (Emphasis added).

           MSC’s own witnesses and post-incident investigation also confirm the condition of the floor.

  MSC’s investigating Safety Officer, Guisseppe Castellano, testified that the floor of the area of

  incident was wet, as did MSC’s Corporate Representative: “He [the Safety Officer] looked at the

  condition of the deck. He did note that it was wet.” (Deposition of MSC Corporate Representative

  , Pg. 76, Lns. 18-20, attached hereto as Exhibit C); “Based on the details of the accident that were

  documented by the safety officer, he noted that the floor was wet.” Id. at Pg. 117, Lns. 3-5. The

  Safety Officer did not note that there was any grease or oil on the floor as MSC contends in its

  attempt to limit discovery. Id. at Pg. 123, Lns. 18-23.

           The only ambiguity before the Court has been created by MSC. As predicted, despite

  initially stipulating to being “aware of prior slip and fall in the pool area of the Divina on a similar

  type of flooring,” MSC now contends that it “has not identified any substantially similar incidents.”

  (See Amended Response in Opposition to Motion to Compel, ECF No. 25, Pg. 6., ¶ B.). The Court



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  should not permit gamesmanship and evasion and should grant Plaintiff’s Motion to Compel.1

         I.      MSC Should Be Compelled To Answer Interrogatory No. 15 And 16

         MSC reliance on the “substantial similarity doctrine” to advance a relevance objection is

  factually wrong for the reasons outlined above, as well as legally inapposite. The “substantial

  similarity doctrine” deals with the admissibility of evidence at trial. It is well-established that the

  “substantial similarity” doctrine does not require identical circumstances, and allows for some “play

  in the joints” depending on the scenario presented and the desired use of the evidence. Galarza v.

  Carnival Corp., No. 15-24380-CIV, 2016 WL 7539223, at *4 (S.D. Fla. Aug. 9, 2016) (citing

  Sorrels v. NCL (Bahamas) Ltd., 796 F.3d 1275, 1287 (11th Cir. 2015)). Notwithstanding, past

  incidents of slip and falls on water or wetness that occurred on Deck 14 at the outdoor pool of the

  MSC Divina are inadmissible under the “substantial similarity doctrine” based on the facts and

  testimony of this case, and nothing about the doctrine should serve to preclude MSC’s discovery

  obligations.

         Interrogatory No. 15 seeks specific categories of information that are needed for Plaintiff to

  prove her case, show the magnitude of the problem with the floor, refute MSC’s defenses, and obtain

  additional information, details, and potential witnesses. MSC has provided none of the information

  sought and lodged a blanket objection. MSC’s withholding of the sought after information and data

  has hindered Plaintiff’s ability to contact potential witnesses, conduct additional depositions, and

  find additional facts and evidence prior to the close of discovery; such conduct is aimed at keeping

  the truth obscured from view. Discovery in this matter closes tomorrow, June 1, 2018. The Court



         1
           The decisional law cited in Paragraph A of MSC’s Response in Opposition, which deals
  with summary judgment proceedings and contract interpretation, is without application or bearing
  to the instant discovery dispute.

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  should compel a full and complete answer to Interrogatory No. 15 for all instances of slip and falls

  involving wetness, liquid, water or other wet transitory substances on the outdoor pool deck of the

  MSC Divina (the entire outdoor pool deck, and fully not in some hyper technical and extremely

  limited fashion that MSC unilaterally deems appropriate).2

         As to Interrogatory No. 16, MSC does not take issue with providing class wide priors on the

  other Fantasia-class vessels or argue that the scope of the Interrogatory as it pertains to the

  Fantasia-class is improper. MSC’s Corporate Representative testified about a select few such

  incidents on other vessels in the Fantasia-class, but he was admittedly unprepared. The discovery

  sought is absolutely relevant to prove notice and other issues at stake. Additionally, it is highly

  relevant because MSC has been comparing the slip and fall performance of the Divina to other

  vessels in the Fantasia-class as a part of its defense to this case:

         “ Q.     And how many accidents were attributed to wetness on the deck, deck 14?

             A.   I think there was- to wetness, there were 33.

             Q.   Is that a statistically significant figure given your expertise in this area.

             A.   Yeah, in my opinion, no. It’s not statistically significant. The other thing I
                  actually thought was interesting was when you compare the slip and falls on
                  Divina, which seem to be statistically insignificant for the number of
                  passenger transits across that deck, and you compare it with outer ships in the
                  class, the Splendida, The Fantasia and Preziosa, it’s higher than those ships.
                  And one of the reasons I surmise is because Divina is in the US 100 percent
                  of the time, in the Caribbean environment. People are using the pool more,
                  there’s high humidity, and I think, you know, there’s a tendency to have wet
                  conditions on that deck more than the other ships in the class.”


         2
          MSC contends that incidents of slip and fall that occur after Plaintiff’s incident are not
  relevant. MSC has taken the position in this matter that the Divina was susceptible to increased slip
  and falls and wetness due to its itineraries in the Caribbean environment (See MSC Corporate
  Representative testimony, Supra, Exhibit C., Pg. 130, Lns. 9-25.). The MSC Divina now sails in
  Europe under a different climate and environment, and Plaintiff seeks corresponding details to test
  and refute MSC’s climate/environmental performance defense.

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  (Deposition of MSC Corporate Representative, Exhibit C., Pg. 130., Lns. 9-25).

         Accordingly, MSC should be ordered to respond fully to Interrogatory No. 16 for all

  instances of slip and falls involving wetness, liquid, water or other wet transitory substances on the

  outdoor pool decks of the Fantasia-class vessels (the entire outdoor pool decks of the Splendida,

  Fantasia, and Preziosa).

         II.     MSC’s Indication That Defendant Has No Records Regarding Any Substantially
                 Similar Incidents Is Blatantly False

         Plaintiff is incredibly disconcerted and perplexed about the allegations of Paragraph B., Pg.

  6, of MSC’s Response in Opposition, which states the following: “Mr. Allain [MSC’s Corporate

  Representative] was asked about these prior incidents and testified about these incidents and that

  after a diligent search of prior incident records from both the MSC Divina and other Fantasia Class

  vessels, Defendant has not identified any substantially similar incidents.” The following is his

  testimony about his limited knowledge of the existence of substantially similar incidents and MSC’s

  lack of investigation or disclosure regarding such incidents:

         “Q.     In preparing for the deposition today, did you do any research, sort of how
                 you did today to find the prior slip and falls, as it would relate to the
                 Splendida, Fantasia, or Preziosa.

         A.      I reviewed some of the accident reports for those ships, yes.

         Q.      Okay. So what I need to know is whether it’s some or whether it’s all?

         A.      Some from I believe 2016 and then some from 2017.

         Q.      So there could be more potentially?

         A.      Yes.

  (Deposition of MSC Corporate Representative, Exhibit C., Pg. 104-05., Lns. 16-25; 1).

         MSC’s Corporate Representative then went on to list the incidents of slip and fall he found


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  on other Fantasia-Class vessels from the few months he reviewed. However, it is unclear as to what

  else exists as he admitted to being unprepared at the time of the deposition. Accordingly, Plaintiff

  is confounded at how MSC can make the representations that it sets forth in Paragraph B., Pg. 6,

  of MSC’s Response in Opposition. It also adds to the confusion, as predicted, stemming from

  MSC’s initial stipulation to being “aware of prior slip and fall in the pool area of the Divina on a

  similar type of flooring.” Substantially similar incidents quite clearly exist, they are relevant, and

  Plaintiff has a right to known the truth. The Court should grant Plaintiff’s Motion to Compel.3

         III.    Documents And Records Responsive To Requests For Production 19, 21, and 22
                 Exist And Have Been Withheld From Production Without Basis

         MSC represents that “[o]ther than privileged incident reports, no other documents responsive

  to Plaintiff’s Request for Production 19, 21, and 22 exist.”

         MSC’s Corporate Representative testified to 33 past incidents involving slip and falls due

  to wetness in the same location. To begin, every one of those injured individuals would have

  provided a “Passenger Injury Statement” per MSC’s policy. This is a written depiction of what

  happened to them and the condition of the floor. None have been provided in discovery in this case.

  Additionally, no corresponding medical records for any of those 33 injured individuals have been

  produced, which are also known to exist.

         Furthermore, additional non-privileged documents that fall squarely within the Requests exist

  and have not been produced:

         Q.      Besides the incident reports themselves, do you have a list or some sort of an


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           Plaintiff supplemented its Answer to Interrogatory No. 17 contemporaneously with the filing
  of its Response in Opposition on the evening of May 29, 2018, knowing that discovery would close
  three business days later. There appears to have been no basis for MSC’s earlier refusal to answer
  it except for unfair gamesmanship aimed at disadvantaging Plaintiff through evasion of discovery.


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                 excel spreadsheet that would list the names of those individuals?

          A.     No.

          Q.     So the 70 names would, in essence, only be available to you by looking at the
                 accident reports?

          A.     That’s correct.

          Q.     Are you aware if within MSC there is someone else that would have a list or
                 some sort of a Matrix or an Excel spreadsheet that would name those
                 accidents?

          A.     Yes.

          Q.     There is.

          A.     Yes.

          Q.     Who is that?

          A.     An individual, I don’t know the specific name, but there’s a database that is
                 kept.

          Q.     And what is the name of that database?

          A.     It doesn’t have a real formal name. It’s just accident med reports, I believe
                 is what it is called.

          Q.     If I wanted to request that spreadsheet, is there a formal name for that
                 spreadsheet?

          A.     I’m not aware of a formal name for it, no.

  (Deposition of MSC Corporate Representative, Exhibit C., Pg. 21-22, Lns. 9-25; 1-6).

          This spreadsheet has been wrongfully withheld from production without basis. It should be

  ordered produced in its native format without alterations as it pertains to the MSC Divina and all

  Fantasia-Class incidents. The passenger injury statements and medical records for pertaining to the

  incidents from the MSC Divina and all Fantasia-Class incidents should be produced forthwith as

  well.

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         III.    Requests For Production 34, 35, and 36

         MSC also states that it possesses no responsive documents or records to Requests for

  Production Numbers 34, 35, and 36. Plaintiff finds this claim dubious as safety meetings are

  conducted on a routine basis per MSC policy and several witnesses have testified that recorded

  minutes are kept of such meetings. Plaintiff is highly concerned that MSC has been improperly

  withholding documents and failing to ascertain what documents exist throughout the pendency of

  the litigation as part of a strategy of gamesmanship and evasion.4 The objection coupled with

  MSC’s statement that no such responsive documents and records exist also causes Plaintiff concern.

  If there are truly no responsive meeting minutes or notes mentioning or referencing walking safety,

  maintenance of floors, cleaning of floors, keeping dry of floors, accident prevention, slipperiness,

  or slip accidents, MSC should have just responded none without a caveat and objection.

                                               CONCLUSION

         MSC’s conduct in avoiding discovery appears far from legitimate and can only be seen for

  what it is: gamesmanship to gain an unfair advantage in the litigation. It is clear from its conduct

  that MSC’s discovery strategy is one of evasion, confusion, and taking conflicting positions without

  basis. The Court should not stand for such unacceptable and improper behavior. Plaintiff has been

  prejudiced as a result, and has had to file numerous discovery motions in this matter to get the most

  basic of discovery responses.      To date Plaintiff has not received meaningful answers to

  Interrogatories and documents and records have been withheld without basis. This is all part and


         4
           For instance, in addition to the excel spreadsheet described above, MSC’s Corporate
  Representative revealed that other responsive documents to other Requests exist and have not been
  produced: there is an accident investigation policy that has not been produced (Deposition of MSC
  Corporate Representative, Exhibit C., Pg. 28, Lns. 10-17); there is a safety management system
  policy relating to pool safety guards that was not produced (Id. Pg. 53, Lns. 4-7). MSC is either not
  looking for or improperly withholding directly responsive documents and records.

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  parcel of MSC’s discovery strategy of disinformation and evasion. The Court should grant

  Plaintiff’s Motion to Compel Responses to Discovery.

         WHEREFORE, Plaintiff respectfully requests that the Court enter an Order granting

  Plaintiff’s Motion to Compel Responses to Discovery, along with any such other relief the Court

  deems just and proper.

                                                       Respectfully submitted,

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                                      CERTIFICATE OF SERVICE

                 I HEREBY CERTIFY that the foregoing was electronically filed with the Clerk

  of the Court via CM/ECF on this 31st day of May, 2018. I also certify that the foregoing was

  served on all counsel or parties of record on the attached Service List either via transmission of

  Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those

  counsel or parties who are not authorized to receive electronic Notices of Filing.


                                                       By:     /s/ Thomas D. Graham
                                                               Thomas D. Graham




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                                    SERVICE LIST
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